                                        Case: 19-10524                   Doc: 8    Filed: 02/21/19     Page: 1 of 4


                                                                     United States Bankruptcy Court
                                                                        Western District of Oklahoma
 In re       Ladoria Shaw                                                                                 Case No.    19-10524-JDL
                                                                                    Debtor(s)             Chapter     13


                                 DEBTOR’S MOTION FOR CONTINUATION OF AUTOMATIC STAY,
                               NOTICE OF OPPORTUNITY FOR HEARING AND NOTICE OF HEARING

       The debtor, Ladoria Shaw ("Debtor"), through her attorney, Joshua Farmer, requests that the Court
extend the automatic stay under 11 U.S.C. § 362(a) as to all creditors pursuant to 11 U.S.C. §362(c)(3)(B). In
support of her request, Debtor states as follows:

1. Debtor filed a petition under Chapter 13 on February 18, 2019.

2. Debtor previously filed a Chapter 13 case on May 25, 2018, and the case was assigned case number
18-12207. The case was dismissed on November 26, 2018. This was the only previous case pending during the
preceding year.

3. Debtor's previous case was dismissed for non-feasibility after confirmation. Since that time, Debtor's
household income has increased and as a result Debtor is now able to fully perform under the terms of the
Chapter 13 Plan.

4. Debtor's monthly net income is $4727.50 and the Debtor has approximately $2502.32 per month in living
expenses, leaving $2222.18 per month as their disposable income, an amount that is sufficient to fund her
Chapter 13 Plan.

5. The petition in this case has been filed in good faith as to all creditors. Debtor believes that the Chapter 13
plan she has submitted will be confirmed and that dhe will be able to fully perform under the terms of the plan.

6. The Debtor’s prior chapter 13 case was not dismissed because the Debtor failed to file or amend her petition
or any required documents, or to provide adequate protection payments ordered by the court.

7. The Debtor’s prior chapter 13 case was not dismissed at a time when there had been a motion for relief that
was pending before the court or resolved with an order terminating, conditioning, or limiting the stay.

                                                      NOTICE OF OPPORTUNITY FOR HEARING

Your rights may be affected. You should read this document carefully and consult your attorney about your
rights and the effect of this document. If you do not want the Court to grant the requested relief, or you wish to
have your views considered, you must file a written response or objection to the requested relief with the Clerk of
the United States Bankruptcy Court for the Western District of Oklahoma, 215 Dean A. McGee Avenue, Oklahoma
City, OK 73102 no later than 14 days from the date of filing of this request for relief. You should also serve a file
stamped copy of your response or objection to the undersigned movant/movant’s attorney [and others who are
required to be served] and file a certificate of service with the Court. If no response or objection is timely filed, the
Court may grant the requested relief without a hearing or further notice. The 14 day period includes the three (3)
days allowed for mailing provided for in Bankruptcy Rule 9006(f).




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                                        Case: 19-10524               Doc: 8    Filed: 02/21/19    Page: 2 of 4


        WHEREFORE, Debtor requests that this Court continue the automatic stay under §362(a) as to all
creditors for the duration of this Chapter 13 proceeding, or until such time as the stay is terminated under
§362(c)(1) or (c)(2), or a motion for relief is granted under § 362(d).


Dated: February 21, 2019                                                         Respectfully submitted,




                                                                         By:     /s/ Joshua Farmer
                                                                                 Joshua Farmer, CA302846
                                                                                 Attorney for Debtor(s)
                                                                                 1101 SW C Ave
                                                                                 Lawton, OK 73501
                                                                                 580-248-2500
                                                                                 Fax: 580-581-1803
                                                                                 josh@taylaw.net




                                                                     NOTICE OF HEARING

Notice is hereby given that if a response to the Debtors’ Motion for Continuation of the Automatic Stay is
filed, the hearing on the matter will be held on March 12, 2019 at 2:00 p.m. in the second floor courtroom of
the United States Bankruptcy Court for the Western District of Oklahoma, 215 Dean A. McGee Avenue,
Oklahoma City, OK 73102. If no response is timely filed and the court grants the requested relief prior to the
above-referenced hearing date, the hearing will be stricken from the docket of the Court.




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                                        Case: 19-10524                Doc: 8    Filed: 02/21/19     Page: 3 of 4


                                                                     CERTIFICATE OF SERVICE
             This is to certify that on February 21, 2019 a true and correct copy of the Debtor's Motion to Motion for
Continuation of Automatic Stay, Notice of Opportunity for Hearing and Notice of Hearing, filed on February 21, 2019,
was forwarded via U.S. Mail, first class, postage prepaid, to the attached creditor's list, and that I also filed the same on
line at the Court’s Web Site so as to make it available on PACER.




                                                                               /s/ Joshua L. Farmer
                                                                               Joshua L. Farmer, CA302846
                                                                               1101 SW C Avenue
                                                                               Lawton, OK 73501
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                                                                               Attorney for the Debtor




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                                    Case: 19-10524     Doc: 8        Filed: 02/21/19   Page: 4 of 4
Label Matrix for local noticing                USBC Western District of Oklahoma            American Collection Services
1087-5                                         215 Dean A. McGee                            Attn: Bankruptcy
Case 19-10524                                  Oklahoma City, OK 73102-3426                 3100 Sw 59th St.
Western District of Oklahoma                                                                Oklahoma City OK 73119-6416
Oklahoma City
Thu Feb 21 10:34:53 CST 2019
Credit Collection Services                     Credit One Bank                              SN Servicing Corporation
Attn: Bankruptcy                               Attn: Bankruptcy Department                  Gemini Capital Managers LLC
725 Canton St                                  Po Box 98873                                 PO Box 660820
Norwood MA 02062-2679                          Las Vegas NV 89193-8873                      Dallas TX 75266-0820


United States Trustee                          John T. Hardeman                             Joshua L Farmer
United States Trustee                          PO Box 1948                                  Taylor C Stein Attorney at Law PC
215 Dean A. McGee Ave., 4th Floor              Oklahoma City, OK 73101-1948                 1101 SW C Ave
Oklahoma City, OK 73102-3479                                                                Lawton, OK 73501-4238


Ladoria Shaw                                   End of Label Matrix
17640 Lead Lane                                Mailable recipients     9
Edmond, OK 73012-6959                          Bypassed recipients     0
                                               Total                   9
